   Case 4:21-cv-00133-RSB-CLR Document 46 Filed 03/03/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 MARION K. ABEL,

                Plaintiff,                                 CIVIL ACTION NO.: 4:21-cv-133

        v.

 PACIFIC INDEMNITY COMPANY,

                Defendant.



                                           ORDER

       On February 8, 2023, the Court administratively closed this action as the case had settled

at mediation. (Doc. 44.) Presently before the Court is a Joint Stipulation of Dismissal With

Prejudice, signed by counsel for both parties and filed with the Court on March 1, 2023, wherein

the parties indicate they stipulate to the dismissal, with prejudice, of this action, including the

counterclaim asserted by Defendant, with each party to bear its own fees and costs. (Doc. 45.)

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this action has been DISMISSED

WITH PREJUDICE. Accordingly, the Clerk of Court is hereby authorized and DIRECTED to

REOPEN this case, TERMINATE all pending motions, and CLOSE this case.

       SO ORDERED, this 3rd day of March, 2023.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
